347 U.S. 610
    74 S.Ct. 736
    98 L.Ed. 987
    ALTONv.ALTON.
    No. 531.
    Supreme Court of the United States
    Argued and Submitted April 7, 1954.
    June 1, 1954
    
      Messrs.
      George H. T. Dudley, Charlotte Amalie, St. Thomas, V.I., Abe Fortas, Washington, D.C., for petitioner.
      Mr. Hyman Smollar, Washington, D.C., for respondent.
      PER CURIAM.
    
    
      1
      Petitioner brought this action for divorce in the Virgin Islands. Following argument and submission of the case in this Court, we were authoritatively advised that a final divorce decree had been entered on April 28, 1954, in the State of Connecticut on application of the respondent. The Superior Court of Connecticut found respondent to be a domiciliary of that State and petitioner here personally appeared in that action. Petitioner does not suggest that she repudiates her appearance in the Connecticut action, that the Connecticut decree is invalid in any way, or, in fact, that there is any colorable basis for challenging it. Nor does petitioner seek any ancillary relief in the instant divorce action that could not be obtained in an independent action in the Virgin Islands.
    
    
      2
      On the premises, this case appears to be moot. The judgment of the Court of Appeals is vacated and the cause is remanded to the District Court with directions to vacate its judgment and to dismiss the proceeding upon the ground that the cause is moot.
    
    
      3
      Mr. Justice BLACK dissents. He is of the opinion that petitioner is entitled to have her divorce case tried in the Virgin Islands since under the holding and opinion in Williams v. State of North Carolina, 325 U.S. 226, 65 S.Ct. 1092, 89 L.Ed. 1577, the Connecticut divorce decree does not necessarily protect petitioner from conviction for bigamy in the Virgin Islands or anywhere else.
    
    
      4
      Mr. Justice DOUGLAS and Mr. Justice JACKSON took no part in the consideration or decision of this case.
    
    